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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


Midas Green Technologies, LLC,

                Plaintiff,                Case No. 6:22-cv-00050-ADA
      - vs. -
                                          Jury Trial Demanded
Rhodium Enterprises, Inc.;
Rhodium Technologies LLC;
Rhodium 10mw LLC;                         ORAL ARGUMENT
Rhodium 2.0 LLC;                          REQUESTED
Rhodium 30mw LLC;
Rhodium Encore LLC;
Rhodium Industries LLC;
Rhodium JV LLC;
Rhodium Renewables LLC;
Rhodium Shared Services LLC;
Rhodium Shared Services PR Inc.;
Chase Blackmon;
Cameron Blackmon; and
Nathan Nichols,


                Defendants.



                DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF
                 MOTION TO DISMISS FIRST AMENDED COMPLAINT
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I.       INTRODUCTION

         Midas’ Opposition to Defendants’ Motion to Dismiss the First Amended Complaint (Dkt.

48) (“the Opposition”) asserts that Defendants’ Motion to Dismiss the Original Complaint “was

without merit.” Dkt. 48 (hereinafter “Opp.”) at 2. That assertion strains credibility given that

Midas’s First Amended Complaint (“FAC”), Dkt. 44, added more than forty paragraphs.

Nevertheless, those amendments did not cure any inadequacies Defendants’ previously identified

because nearly all of the new allegations are based only on Midas’s “information and belief” and/or

are conclusory, without factual support. Such conclusory allegations devoid of necessary factual

underpinnings are insufficient to plausibly support a reasonable inference that any of the

Defendants are liable for any of the FAC’s claims. Thus, the FAC should be dismissed, and Midas

should not be given a third bite at the apple by allowing it to file another amended complaint.

II.      ARGUMENT

         A.      The FAC Improperly Fails To Differentiate Between The Defendants

         The law is clear, grouping defendants together and making allegations against them as a

group is improper unless the complaint makes clear that “identical claims are asserted against each

defendant.” Lasslett v. Tetra Tech, Inc., 2015 WL 13805125, at *3 (W.D. Tex. Feb. 20, 2015);

see also Monitronics Int’l, Inc. v. Skyline Security Management, Inc., 2017 WL 2882624, at *4

(N.D. Tex. July 5, 2017) (“Multiple defendants’ conduct may be ‘lumped together’ if the plaintiff’s

allegations elsewhere designate the nature of the defendants’ relationship to a particular scheme

and identify the defendants’ role.” (citation omitted)).2 The FAC, however, never plausibly alleges

that each Defendant individually engaged in the conduct giving rise to Midas’ claims.


2
      Midas’ attempt to distinguish Callier v. Nat’l United Grp., 2021 WL 5393829, (W.D. Tex.
      Nov. 17, 2021), fails. Opp. at 6. The case actually involves related defendants. Id. at *1, *4
      (complaint alleges third-party telemarketers were “subject to some control by Defendant
      National United” and that “[it] was working in concert with the telemarketers . . . .”).



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       In support of its argument that the FAC does not improperly group the Defendants together,

Midas relies upon just a handful of allegations. With respect to “Rhodium Enterprises and

Rhodium Technologies,” the Opposition relies on paragraphs 74 & 90 and 81 & 97, which make

mirror image allegations concerning the Asserted Patents. Opp. at 5. With respect to the

“Rhodium Operating Subsidiaries,” Midas relies on paragraphs 29, which has no allegations about

these entities’ conduct, and paragraphs 73 and 89, which make mirror image allegations

concerning the Asserted Patents. Opp. at 5.3 For the Individual Defendants, the Opposition relies

on paragraphs 14-16, which make conclusory mirror image allegations about Chase Blackmon,

Cameron Blackmon, and Nathan Nichols, and on paragraph 44. None of these paragraphs put

Defendants on notice that each is individually accused of the alleged conduct.

       As an initial matter, with the exception of paragraph 44, these paragraphs—which make

allegations about Defendants alleged conduct—are plead either on information and belief without

any factual support and/or are conclusory allegations without any factual support. See FAC ¶¶ 14-

16, 73, 74, 81, 89, 90, 97. Such allegations are not entitled to be accepted as true. See Aeritas,

LLC v. Darden Corp., 2021 WL 4868430, at *2 (W.D. Tex. Oct. 18, 2021) (need not consider

“allegations made on information and belief” where there is no factual support as such allegations

“are legal conclusions disguised as factual allegations”); O’Malley v. Brown Brothers Harriman

& Co., 2020 WL 1033658, at *8 (W.D. Tex. Mar. 3, 2020) (pleading based on information and

belief is permissible, but that does not permit reliance on speculation and conclusory allegations);

Iron Oak Techs., LLC v. Acer Am. Corp., 2017 WL 9477677, at *1 (W.D. Tex. Nov. 28, 2017)




3
    Significantly, Midas’ argument that it did not improperly group the Rhodium Operating
    Subsidiaries together does not cite any paragraphs from the FAC concerning its induce
    infringement allegations against these Defendants. As such, Midas has conceded that its
    induced infringement claims against the Rhodium Operating Subsidiaries are deficient.



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(labels and conclusions, and naked assertions devoid of further factual enhancement are

insufficient).4 Paragraph 44, moreover, actually calls into question the FAC’s allegations against

the Individual Defendants as it states that, as founders of Rhodium, they “spent the previous four

years developing, testing, and collecting field operational data to optimize the application of our

liquid-cooling technology to mining bitcoin.” FAC ¶ 44. This quote does not indicate that “the

Individual Defendants’ participat[ed] in the infringing design.” See Opp. at 14. Rather, the quote

indicates that they tested and collected field operational data and that such data was to be used to

optimize “the application of our liquid-cooling technology to mining bitcoin.” FAC ¶ 44.

       The allegations against “Rhodium Enterprises and Rhodium Technologies” and the

“Rhodium Operating Subsidiaries,” moreover, do not allege that each of these Defendants

individually engaged in the alleged conduct. See FAC ¶¶ 73, 74, 81, 89, 90, 97. For good reason,

the FAC is premised on the allegation that Defendants “collectively operate the same bitcoin

mining operation . . . .” Opp. at 9 (citing FAC ¶ 26.); see also FAC ¶ 29 (alleging Defendants act

as a “common enterprise”). As such, it is not plausible that each Defendant, individually, engaged

in the exact same redundant conduct as part of an allegedly collective, common enterprise.

       Nor is the FAC’s treatment of the Rhodium Defendants as a single entity based on an alter

ego theory permissible. “[T]he corporate form should not be lightly disregarded.” Wapp Tech

Ltd. v. Micro Focus Int’l, PLC, 406 F. Supp. 3d 585, 595 (E.D. Tex. 2019); Adm’rs of Tulane

Educ. Fund v. Ipsen, S.A., 450 F. App’x 326, 331 (5th Cir. 2011) (“[T]he plaintiff has a heavy

burden to establish a degree of control sufficient to impute the subsidiary’s jurisdictional contacts




4
    For this same reason, Midas’ suggestion that it can permissibly plead allegations on
    information and belief without any factual support because the facts are within Defendants’
    possession, Opp. at 4-5, 9-10, is incorrect. That circumstance does not permit Midas to rely
    on speculation and conclusory allegations. See O’Malley, 2020 WL 1033658, at *8.



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to the parent.”). The FAC’s allegedly “detailed factual allegations” do not meet this burden.

        As an initial matter, Midas’ never acknowledges, much less addresses, that in

circumstances like here, where “a ‘subsidiary is wholly-owned by the parent,’ courts must exercise

caution in inferring an alter ego relationship based on a normal parent-subsidiary relationship as

in the case of a wholly-owned subsidiary, ‘operating the subsidiary independently of the parent

company has little practical meaning.’” Synergy Drone LLC v. Parrot S.A., 2018 WL 11361758,

at *4 (W.D. Tex. Apr. 17, 2018). Notwithstanding this deficiency, the allegations Midas argues

support 10 of the 12 relevant factors are plead exclusively on “information and belief” devoid of

actual factual support and are merely a rephrasing of the factors themselves, constituting legal

conclusions masquerading as facts. See Opp at 7-8 (citing ¶¶ 19 (factor 2), 26 (factor 3), 23 (factor

5), 21 (factor 6), 22 (factor 7), 24 (factor 8), 27 (factor 9), 25 (factor 10), 26 (factor 11), 28 (factor

12)). Such allegations should not be considered. Aeritas, LLC, 2021 WL 4868430, at *2;

O’Malley, 2020 WL 1033658, at *8. Therefore, Midas has alleged that only 2 of the relevant 12

factors are present.    And, significantly, for the critical factor, under capitalization, Midas’

allegation is made on information and belief without factual support. See Opp. at 8-9 (citing ¶ 22).

        Moreover, the 2 factors based on allegations not plead entirely on information and belief,

common stock ownership and consolidated financial statements, are insufficient to adequately

plead that the Rhodium Defendants are alter egos. See Synergy Drone LLC, 2018 WL 11361758,

at *4. Indeed, the actual evidence the FAC relies on to support its allegation that the Rhodium

Defendants have consolidated financial statements, Opp. at 7 (citing ¶ 19), contradicts that

allegation because the SEC filing indicates that the filing represents a departure from the actual

organization of the entities’ financial statements. See Dkt. 45-1 at 240, 269. Thus, Midas’

allegation based on its interpretation of the filing is not “plausible” and should not be accepted as




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true. See Keane v. Fox Television Stations, Inc., 297 F. Supp. 2d 921, 925 (S.D. Tex. 2004), aff’d,

129 F. App’x 874 (5th Cir. 2005) (not required to accept as true conclusory allegations which are

contradicted by documents referenced in the complaint). Because the FAC impermissibly groups

all of the Defendants together, it does not adequately plead any claims and should be dismissed.

       B.      The Court Lacks Personal Jurisdiction Over Rhodium Shared Services PR
               Inc. And Venue Is Improper

       Midas argues that the Court has personal jurisdiction over Rhodium Shared Services PR

Inc. (“Rhodium PR”) and that venue is proper in this district based on an alter ego theory. As

discussed above, Midas has not adequately alleged that the Rhodium Defendants are alter egos, so

venue is not proper and this Court lacks personal jurisdiction over Rhodium PR based on that

theory. With respect to only personal jurisdiction, alternatively, Midas argues that this Court has

jurisdiction over Rhodium PR based on its contacts with Texas. Not so.

       First, the FAC does not allege Midas’ patent infringement claims arise out of or relate to

Rhodium PR’s alleged contacts with Texas. For this reason alone, the FAC does not plead a prima

facia case of specific personal jurisdiction. Cicerchi v. Hilton Hotel Employer, LLC, 2021 WL

2669328, at *2 (W.D. Tex. June 22, 2021) (granting motion to dismiss because the complaint’s

“conclusory allegations fail[ed] to connect Defendants with this forum and [its] claims.”). Second,

Midas completely ignores the declaration of Nathan Nichols, which establishes that, contrary to

Midas’ allegations made on “information and belief,” FAC ¶ 33, Rhodium PR does not conduct

business anywhere in Texas, has no contacts with Texas, does not have—and never had—any

employees, agents, or consultants, and it was created for use only after Rhodium Enterprises Inc.’s

IPO, which has been postponed. See Dkt. 45-1 ¶¶ 3-5. Given this declaration, Midas has failed to

establish a prima facia case that this Court has general jurisdiction as there are no constant and

pervasive contacts with Texas to justify such jurisdiction. Gines v. D.R. Horton Inc., 867 F. Supp.




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2d 824, 830-31 (M.D. La. 2012) (“In deciding motions to dismiss for lack of jurisdiction, plaintiff’s

jurisdictional allegations (in either the complaint or an affidavit) must be taken as true unless

plaintiff fails to make affidavit assertions that controvert defendant’s affidavit assertions.”).

       In light this declaration, moreover, the only remaining alleged contacts between Rhodium

PR and Texas are two unexecuted “Texas agreements,” Opp. at 13 (citing FAC ¶ 33), which, only

if executed, would provide “for mandatory arbitration of disputes in Texas, venue for legal

proceedings to be held in Texas, and interpretation of its provisions under Texas law,” and under

which Rhodium PR would act “for the benefit of its corporate parents and affiliates—who are

Texas-based entities.” Id.; see also id. (“Rhodium PR negotiated these Texas contracts, attached

[them] to Rhodium’s public SEC filings, and [it] and the other Defendants intend to operate under

them.”). Midas cites to no case law supporting either specific personal jurisdiction or general

jurisdiction based on such “contacts.” Indeed, in York v. Tropic Air Ltd., 2012 WL 1077198, (S.D.

Tex. Mar. 28, 2012), which Midas relies upon, personal jurisdiction existed where the defendant

had extensive contacts with Texas—24 categories of contacts—including actually “enter[ing] into

approximately 25–30 contracts with Texas businesses and individuals.” Id. at *3-*5. No such

contacts are present here, so jurisdiction is not proper. See Gines, 867 F. Supp. 2d at 830-31 (no

personal jurisdiction where the defendant “renders no services, conducts no business, has no

employees, owns no real property and maintains no bank accounts” in the forum state). Thus,

Rhodium PR is not subject to personal jurisdiction in this Court and Venue is not proper as

Rhodium PR is incorporated in Puerto Rico and exists only on paper.

       C.      Midas’ Induced Infringement Claims Should Be Dismissed

       Midas’ induced infringement claims should be dismissed because the FAC fails to

plausibly plead that any Defendant (1) knew or should have known that its acts would result in

infringement by another party; or (2) specifically intended to induce infringement.



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       No knowledge of infringement. Midas’ theory that Defendants possessed knowledge of

infringement is premised upon the Rhodium Defendants’ product being “materially identical” to

the products at issue in the Immersion Systems Litigation. Opp. at 15-16. Critically, however, the

FAC never alleges that the Rhodium Defendants’ product is “materially identical” to the products

at issue there. Rather, the FAC alleges that the products either “appear to be materially identical”

or photos “appear to suggest” the products are materially identical. FAC ¶¶ 57, 58. By alleging

only that the Rhodium Defendants’ product “appears to” be materially identical, the FAC fails to

even allege, much less plausibly, that the products are materially identical such that Defendants

knew or should have known that the Rhodium Defendants’ product infringes.

       The products, moreover, do not appear to be materially identical. Compare FAC ¶ 49 (tank

with a long bar) with id. ¶ 57 (tank without the long bar). Contrary to Midas’ assertion, to plausibly

plead knowledge of infringement, the FAC, not Defendants, needed to explain how this visible

“difference is [not] material to infringement of the patents . . . .” See Keane, 297 F. Supp. 2d at

925. Nor does “Midas’ allegation that the two products are materially identical” need to “be

accepted as true.” Opp. at 17. First, there is no such allegation in the FAC. Second, because the

actual allegation that the products “appear to be” materially the same is contradicted by a

comparison of the actual images in the FAC, the allegation should be disregarded. See id.

       Nor is Defendants’ argument based on the SEC filing “absurd.” See Opp. at 17.5 Midas

concedes that a defendant’s reasonable belief that it does not infringe is a defense to inducement.

Id. Nevertheless, Midas relies upon a document to allege knowledge of infringement that actually

indicates that Defendants did not believe their product infringes. The FAC never alleges that this




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    Defendants did not argue their belief that the Asserted Patents are invalid is a defense to
    inducement. See Opp. at 18.



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belief is unreasonable. As such, the FAC does not plausibly plead knowledge of infringement.6

        No intent to induce. Midas asserts that two categories of activities support the “inference”

that Defendants specifically intended to induce infringement. Opp. at 17-18 (citing FAC ¶¶ 80-

82, 96-98). Not so. With respect to the first—Midas’ allegation based on Defendants allegedly

providing designs and instructions to third parties and each other, (FAC ¶¶ 80, 81, 96, 97)—these

allegations are deficient because they fail to specify how the designs and instructions induced

others to infringe as the FAC fails to include references to any specific designs or instructions. See

Affinity Labs of Texas, LLC v. Blackberry Ltd., 2014 WL 12551207, at *5 (W.D. Tex. Apr. 30,

2014); see also BillJCo, LLC v. Apple Inc., 2022 WL 299733, at *7-*8 (W.D. Tex. Feb. 1, 2022)

(intent to induce infringement adequately plead where the complaint referenced exemplary guides

from Apple’s developer website, infringement charts appended to the complaint “map[ped]

limitations to, in most instances, instructions from Apple-authored documentation,” and the

complaint “specifically referenced disclosures Apple personnel made at Apple’s 2013 developers’

conference.”).   These allegations, moreover, are nothing more than threadbare, conclusory

assertions without factual support that are insufficient to plead specific intent to induce

infringement. See Iron Oak, 2017 WL 9477677, at *1, *5-*6. The same is true of the second

category—Midas’ allegation that Rhodium Enterprises, Inc., Rhodium Technologies LLC and the

Individual Defendants allegedly directed and controlled “the infringing activities of the Rhodium

Operating Subsidiaries,” (FAC ¶¶ 82, 89)—Midas asserts supports the “inference” that they

specifically intended to induce infringement. Opp. at 17-18. These allegations are insufficient as




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    Nor would this outcome “eviscerate the induced infringement doctrine” because Midas chose
    to rely on the SEC filing to plead knowledge of infringement. It could have not done so. Or,
    it could have alleged that Defendants’ stated belief was not reasonable. As such, this outcome
    is narrowly dictated by Midas’ reliance on this specific document.



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they are conclusory without factual support. See Iron Oak, 2017 WL 9477677, at *1, *5-*6.

       Midas’ reliance on Motiva Patents, LLC v. Sony Corp., 408 F. Supp. 3d 819 (E.D. Tex.

2019), moreover, does not compel a different result. Opp. at 18-19. There, the plaintiff plead that

“[d]efendant is aware that the normal and customary use of the accused products by [d]efendant’s

customers would infringe the [Asserted Patent].” Id. at 825-26. Given this allegation, which the

defendant did not not challenge as insufficient, specific references to instruction manuals or

instructions to customers, or specific content of advertisements were not necessary to adequately

plead specific intent to induce infringement. Id. The FAC does not make a similar allegation, so

it is not plausible that providing any designs or instructions, or directing or controlling any activity

would give rise to the plausible inference of intent to induce infringement because not all such

activities would result in third-party infringement. See HZNP Meds. LLC v. Actavis Labs. Ut, Inc.,

940 F.3d 680, 701-702 (Fed. Cir. 2019) (no specific intent to induce infringement where not all

third parties who follow the instructions will infringe); Lifetime Indus., Inc. v. Trim-Lok, Inc., 869

F.3d 1372, 1380 (Fed. Cir. 2017) (adequately plead specific intent to induce infringement where

the complaint alleged that defendant assisted in or directed the installation of exactly the same type

of seal as described in the patent and “the seals have no noninfringing use.”) Rather, to adequately

plead specific intent to induce infringement, Midas must reference specific designs or instructions;

the FAC’s bare assertion that the designs and instructions give rise to infringement is insufficient.

See Affinity Labs of Texas, LLC, 2014 WL 12551207, at *5; Iron Oak, 2017 WL 9477677, at *1.

Midas failed to do so, therefore, its induced infringement claims should be dismissed.

       D.      Midas’ Direct Infringement Claims Against The Individual Defendants
               Should Be Dismissed

       The Opposition makes clear that Midas’ allegations that the Individual Defendants directly

infringed are based only on their alleged personal acts. Opp. at 13-14 (citing FAC ¶¶ 14-16, 44).




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For the reasons explained above, supra Section II.A, the FAC does not adequately plead that the

Individual Defendants are liable for direct infringement. First, the FAC’s allegations that the

Individual Defendants “helped design and develop” Rhodium’s product, FAC ¶¶ 14-16, are plead

on information and belief without any factual support, and, therefore, are not entitled to be accepted

as true. See Aeritas, LLC, 2021 WL 4868430, at *2; O’Malley, 2020 WL 1033658, at *8. Second,

paragraph 44, calls into question the FAC’s allegations in paragraphs 14-16, and it does not

establish that the Individual Defendants “helped design and develop” Rhodium’s product. Thus,

the direct infringement claims against the Individual Defendants should be dismissed.

          E.      Willful Infringement And Enhanced Damages Claims Should Be Dismissed

          Midas’ claims for willful infringement and enhanced damages should be dismissed. With

respect to willful infringement, as discussed above, supra Section II.C, the FAC fails to sufficiently

allege that Defendants knew or should have known their conduct amounted to infringement—

required for willful infringement. See Dkt. 45 at 23-24. With respect to enhanced damages, absent

the FAC’s allegations premised upon knowledge of infringement, FAC ¶¶ 100, 103, the remaining

allegations Midas argues establish that Defendants engaged in egregious conduct are baseless,

conclusory allegations without any factual support, which should not be accepted as true. See Opp.

at 21 (citing FAC ¶ 101); Iron Oak, 2017 WL 9477677, at *1. Because egregious conduct is

required for enhanced damages, Midas’ failure to adequately plead it warrants dismissal.7 See

Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 103–04 (2016).

III.      CONCLUSION

          WHEREFORE, Defendants respectfully request that the Court grant this motion to dismiss.




7
       Defendants never argued for dismissal of Midas’ claim for willful infringement because it
       failed to plead egregious conduct, only for the claim for enhanced damages. Dkt. 45 at 24-25.



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DATED: May 23, 2022                  Respectfully submitted,


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                                     Rhodium Shared Services PR Inc., Chase
                                     Blackmon, Cameron Blackmon, and Nathan
                                     Nichols




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                              CERTIFICATION OF SERVICE

       I, Benjamin A. Herbert, do hereby certify that on May 23, 2022, a true and correct copy

of the foregoing DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF MOTION TO

DISMISS FIRST AMENDED COMPLAINT was filed with the Clerk of the Court using the

Court’s ECF System, which will automatically send notification to all counsel of record.


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